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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


    IN RE

    JOHNNY RAY MOORE,                                           No. 3:17-cv-1996 (AWT)
         Debtor/Appellant,

            v.

    PENNY MAC LOAN SERVICE, LLC aka PENNY
    MAC HOLDINGS, LLC, et al.
         Appellee.


                                             ORDER
         Appellant has filed a [5] Emergency Motion for an Injunctive Order in this case, which is

assigned to the Honorable Alvin W. Thompson. In Judge Thompson’s absence, the emergency

motion was referred to the undersigned.

         Appellant requests that this Court issue an injunctive order “prohibiting” the Honorable

Julie A. Manning, Chief Judge of the United States Bankruptcy Court for the District of

Connecticut, from “issuing the following Orders today on January 12, 2018:”

        An order dismissing the Appellant’s bankruptcy petition in case number 16-51133; and

        An order granting Appellee Pennymac Holdings LLC relief from an automatic stay

         previously granted to Appellant;

(ECF No. 5 at 1-2.) Appellant claims that “[t]he issuing of these Orders as a result of a hearing

held on January 10, 2018 would severely injur[e] the Appellant from the protection afforded [him]

as a result of the Bankruptcy Stay and would also deny the Appellant” his constitutionally

protected due process rights and his rights under Rule 9014 of the Federal Rules of Bankruptcy

Procedure (providing for “reasonable notice and opportunity for hearing” for “the party against

whom relief is sought”). (Id. at 2.)

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       The Court construes Appellant’s “Emergency Motion for an Injunctive Order” as a request

for a preliminary injunction because all adverse parties appear to have notice of its filing. See Fed.

R. Civ. P. 65(a). A party seeking a preliminary injunction in the Second Circuit must show: “(1)

irreparable harm in the absence of the injunction and (2) either (a) a likelihood of success on the

merits or (b) sufficiently serious questions going to the merits to make them a fair ground for

litigation and a balance of hardships tipping decidedly in the movant’s favor.” Random House,

Inc. v. Rosetta Books LLC, 283 F.3d 490, 491 (2d Cir. 2002).

       Appellant has not demonstrated that he is likely to succeed on the merits or that there are

sufficiently serious questions going to the merits to make them a fair ground for litigation. First,

Judge Manning’s rulings make clear that Appellant was warned that dismissal of his bankruptcy

petition was possible, given his repeated failure to appear at court-ordered hearings. (See No. 16-

51133, ECF No. 312, ordering Appellant to appear and show cause why the case should not be

dismissed as a bad faith filing). Second, as Judge Manning acknowledged in her January 5, 2018

Order (No. 16-51133, ECF No. 334 at 4), a discharge of bankruptcy would have no effect on

Appellant’s in rem liability—i.e., an order from this Court preventing the Bankruptcy Court from

dismissing the Appellant’s bankruptcy petition would have no effect on his ability to retain the

property at issue. See Johnson v. Home State Bank, 501 U.S. 78, 84 (1991) (“[A] bankruptcy

discharge extinguishes only one mode of enforcing a claim—namely, an action against the debtor

in personam—while leaving intact another—namely, an action against the debtor in rem.”); see

also United States v. Alfano, 34 F. Supp. 2d 827, 838 (E.D.N.Y. 1999) (“[D]ischarge does not

affect liability in rem and prepetition liens remain enforceable after discharge.”).




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        For the same reason, as any decision on Appellant’s bankruptcy would not affect his right

to retain his property, Appellant has not demonstrated that he is likely to suffer irreparable harm

in the absence of preliminary relief.

        Finally, Appellant also has not demonstrated that this Court has jurisdiction to provide the

relief he seeks. Though Judge Manning’s January 10, 2018 orders refer to “Order[s] to enter . . .

on or before January 12, 2018,” those orders have yet to enter. (See No. 16-51133, January 10,

2018 minute entry). This Court does not know whether those orders dismissing the bankruptcy

petition and granting relief from the automatic stay will be entered or when, and what those orders

will say. Federal courts do not have jurisdiction over such unripe controversies. See Marchi v. Bd.

of Coop. Educ. Servs., 173 F.3d 469, 478 (2d Cir. 1999) (“For a case to be deemed justiciable

under Article III, it must be ripe.”).

        If and when the Bankruptcy Court does enter final judgment against Appellant, nothing in

this order precludes Appellant from appealing that judgment to this Court, as he has done in the

past. See 28 U.S.C. § 158 (providing for jurisdiction in the district courts for appeals from final

judgments of the bankruptcy courts). Moreover, if Appellant is concerned that he will be

irreparably harmed in the interim by a judgment once it is entered, he is also not precluded from

seeking a stay of such a judgment pending appeal, a process he apparently is familiar with, having

sought such a stay in the past.

        For these reasons, the [5] Emergency Motion for an Injunctive Order is DENIED

WITHOUT PREJUDICE to seeking other appropriate relief at an appropriate time.




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            IT IS SO ORDERED.


                                       /s/
                                    Michael P. Shea, U.S.D.J.


Dated:      Hartford, Connecticut
            January 12, 2018




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